        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 1 of 27




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

PHILLIP W. HOKE, HOLLY CHANDLER,
SHEENA C. HERNANDEZ, MICAH JADE
KOKSAL, DANIEL A. REYES, AND JEAN
L. FERGUSON

                   Plaintiffs,

v.                                                     Case No. 5:19-CV-4001-HLT-TJJ

HERBERT J. DR. SWENDER AND GARDEN
CITY COMMUNITY COLLEGE

                   Defendants.


                          MEMORANDUM IN SUPPORT OF
                     MOTION FOR JUDGMENT ON THE PLEADINGS

         Defendants Herbert J. Dr. Swender and Garden City Community College (“GCCC”),

(collectively “Defendants”) by the undersigned counsel, and pursuant to Federal Rule of Civil

Procedure 12(c), submit this memorandum in support of their Motion for Judgment on the Pleadings.

                                        INTRODUCTION

         Plaintiffs are current and former faculty and staff of Garden City Community College

(“GCCC”). Plaintiffs bring claims against GCCC and its former president, Dr. Herbert J. Dr.

Swender, under 42 U.S.C. § 1983 for violations of their First and Fourth Amendment rights.

Specifically, Plaintiffs allege that their First Amendment right to free speech was violated when: (1)

Dr. Swender criticized the faculty and staff after an unknown and unidentified individual furtively

recorded and disseminated a speech he gave at an official GCCC faculty meeting; and (2) Dr.

Swender ordered other staff members to examine each others phones. Plaintiffs claim their Fourth

Amendment rights were also violated when Dr. Swender ordered other staff members to examine

each others (including Plaintiffs) phones. Plaintiffs further claim their First Amendment right to be



4838-2666-6388.1
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 2 of 27




free from the establishment of religion was violated when: (1) Dr. Swender invited a pastor to give a

prayer before the bi-annual faculty meeting; and (2) a motivational speaker ended his speech in a

prayer.

          Dr. Swender is entitled to qualified immunity on all claims. Plaintiffs allege no claims that

amount to a violation of a constitutional right that was clearly established at the time the alleged acts

occurred. See Leverington v. City of Colorado Springs, 643 F.3d 719, 732 (10th Cir. 2011).

          Plaintiffs’ First Amendment retaliation claim fails to allege that Plaintiffs suffered any

adverse job action. Plaintiffs allege Dr. Swender “humiliated” them by searching their cell phones,

chastising them, and causing them to do unnecessary paperwork. But no Plaintiff lost his or her job,

was demoted, reassigned, or suffered any tangible job action. “Humiliation” is not the standard for

adverse job actions in this Circuit. Lincoln v. Maketa, 880 F.3d 533, 540 (10th Cir. 2018). Plaintiff

free speech claim fails on this point alone.

          Plaintiffs’ Fourth Amendment claim is based on an area of law in which there is virtually no

binding authority. Fourth Amendment analysis is well developed in the context of a criminal

investigation, but there is no binding authority for what searches are permissible in the context of

employment. With regards to the Plaintiffs’ search and seizure claims, the Supreme Court

specifically stated it was reserving judgment regarding an employer’s rights to search cell phones

because of the “[t]he judiciary risks error by elaborating too fully on the Fourth Amendment

implications of emerging technology before its role in society has become clear.” City of Ontario v.

Quon, 560 U.S. 746, 757, 130 S. Ct. 2619 (2010). Because the law is not clearly established, Dr.

Swender is entitled to qualified immunity.

          Plaintiffs’ religious freedom claim arising under the Establishment Clause fares no better.

The Judges on the Tenth Circuit and Justices on the Supreme Court have all acknowledged the




4838-2666-6388.1                                   2
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 3 of 27




unsettled state of the Tenth Circuit’s Establishment Clause jurisprudence going as far as claiming

that the “Tenth Circuit’s decision[s]” on the Establishment Clause “remain incapable of coherent

explanation.” Utah Highway Patrol Ass’n v. Am. Atheists, Inc., 565 U.S. 994, 995, 1007, 181 L.

Ed. 2d 379 (2011) (Thomas, J. dissenting); see also Felix v. City of Bloomfield, 847 F.3d 1214, 1215

(10th Cir. 2017) (Kelly, Circuit Judge, dissenting from the denial of rehearing en banc, joined by

Tymkovich, Chief Circuit Judge). If Supreme Court Justices are confounded by the Tenth Circuit’s

Establishment Clause jurisprudence, it is certainly unfair to expect Dr. Swender to figure it out.

Because the Plaintiffs cannot show the law is clearly established, Dr. Swender is entitled to qualified

immunity.

          Finally, GCCC cannot be held liable for the individual acts of Dr. Swender. GCCC is only

liable for its own actions. See Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 690, 56 L. Ed. 2d 611

(1978).      GCCC’s policy relating to employee’s communicating with the press does not

independently violate Plaintiffs’ rights; therefore, Plaintiffs cannot succeed on any claim against

GCCC. All of Plaintiffs’ claims fail as a matter of law.

                         BACKGROUND AND FACTUAL OVERVIEW

          The facts in this memorandum are stated as Plaintiffs allege them to be. Defendants disagree

with many of Plaintiffs’ factual contentions, but for the purpose of this motion, Defendants take

Plaintiffs’ allegations at face value.

          Garden City Community College (“GCCC”) is a public educational institution located in

Garden City, Kansas. [ECF 1, ¶ 16.] Dr. Herbert J. Dr. Swender was the President of GCCC from

approximately August 2011 through approximately August 2018. [ECF 1, ¶ 15.] Plaintiffs comprise

certain former and current members of the GCCC faculty and staff. [ECF 1, ¶¶ 9-14.] GCCC holds

biannual in-service faculty meetings that are open to the public before the start of each semester.




4838-2666-6388.1                                   3
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 4 of 27




         In January 2017, GCCC held the first of three faculty in-service meetings that are the subject

of this lawsuit. [ECF 1, ¶ 21.] During this in-service meeting, the new staff was introduced, a speech

was given relating to guns on campus; a separate speech was given on “the power of one”;

entertainment was provided for those in attendance; and GCCC recognized those who were

succeeding at GCCC. [Exhibit A, January 2017 In-Service Agenda.] At some point during the

January 2017 meeting, Dr. Swender had the unenviable task of informing the faculty and staff that

there was potentially disturbing news that would be coming from the Higher Learning Commission

(“HLC”), the entity that provides GCCC’s accreditation. [ECF 1, ¶ 23.] At this point, it was still

premature for Dr. Swender to say what exactly the news was, since a decision by HLC had not

officially been made and announced, but suffice to say that Dr. Swender wanted to be as transparent

as possible with the faculty and staff. [ECF 1, ¶ 26.] Dr. Swender informed the staff that he

disagreed with HLC’s assessment. [ECF 1, ¶ 25.] Unbeknownst to Dr. Swender, someone in the

audience recorded his speech, which was made as part of his official duties, and sent his statements

to the local press. [ECF 1, ¶ 28.] To this date, it is still unknown who recorded Dr. Swender’s

speech and sent it to the press. What is known is that Plaintiffs were not the party that made the

recording or disseminated the recording to the press. [ECF 1, ¶¶ 28, 61.]

         Lunch was provided as a part of the in-service meeting for those who wished to attend. [ECF

1, ¶ 32.] During the lunch hour, Dr. Swender became aware that someone had communicated his

message relating to HLC to the local press. [ECF 1, ¶¶ 30,38.] Whomever communicated Dr.

Swender’s statements to the press disclosed potentially damaging information about GCCC before

any official announcement could be made and before a final decision by HLC had even been

reached. [ECF 1, ¶¶ 26, 33.] Dr. Swender believed that this communication with the press violated




4838-2666-6388.1                                   4
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 5 of 27




the terms of GCCC’s news/media policy, so he began to investigate the policy violation. [ECF 1, ¶

39.]

         During his investigation, Dr. Swender asked those present to search their neighbors’ phones

to determine who had disclosed the information to the press. [ECF 1, ¶ 37.] The investigation

yielded no results. Frustrated by the situation, Dr. Swender communicated to the staff that he was

upset that they had violated the news/media policy and he reminded them that they needed to comply

with the policy in the future. [ECF 1, ¶ 40.]

         Dr. Swender scheduled Pastor Nathan Sheridan to begin the three faculty and staff in-service

meetings in January 2017, August 2017, and January 2018 with a prayer. [ECF 1, ¶ 40.] After

Pastor Sheridan had attended the third faculty in-service meeting in January 2018, Dr. Swender

declared Pastor Sheridan to be the “College’s Pastor.” [ECF 1, ¶ 54.] During the January 2018

faculty in-service meeting, Dr. Swender invited Pastor Ricky Griffin to attend and speak about his

life. [ECF 1, ¶ 54.]

                                 ARGUMENT AND ANALYSIS

I.       The Qualified Immunity Motion to Dismiss Standard is Explained

         Qualified immunity is an affirmative defense against 42 U.S.C. § 1983 damage claims

available to public officials sued in their individual capacities. Pearson v. Callahan, 555 U.S. 223,

231, 129 S. Ct. 808, 172 L. Ed. 2d 565 (2009). The doctrine protects officials from civil liability for

conduct that does not violate clearly established rights which a reasonable person would have

known. Id. As a government official at the time the alleged wrongful acts occurred who is being sued

in his individual capacity, Defendant Swender is entitled to invoke a qualified immunity defense. See

id. at 231.

         In resolving a motion to dismiss based on qualified immunity, this Court looks at: “(1)

whether the facts that a plaintiff has alleged make out a violation of a constitutional right, and (2)


4838-2666-6388.1                                  5
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 6 of 27




whether the right at issue was clearly established at the time of defendant’s alleged misconduct.”

Leverington, 643 F.3d at 732 (quoting Pearson, 555 U.S. at 232) (internal quotations omitted). Once

a defendant invokes qualified immunity, the burden to prove both parts of this test rests with the

plaintiff, and a court must grant the defendant qualified immunity if the plaintiff fails to carry his

burden. Dodds v. Richardson, 614 F.3d 1185, 1191 (10th Cir. 2010). Where no constitutional right

has been violated “no further inquiry is necessary and the defendant is entitled to qualified

immunity.” Hesse v. Town of Jackson, Wyo., 541 F.3d 1240, 1244 (10th Cir. 2008) (quotations

omitted).

         This Court has discretion to resolve an issue of qualified immunity on either of the two

prongs, and it need not decide whether a violation occurred if it concludes that the right was not

“clearly established.” Pearson, 555 U.S. at 236; Estate of Reat v. Rodriguez, 824 F.3d 960, 964 (10th

Cir. 2016).

II.      Dr. Swender is Entitled to Qualified Immunity on Plaintiffs’ First Amendment Claim

         A.        Plaintiffs’ Allegations in Support of Their First Amendment Claim

         Plaintiffs allege that on January 4, 2017, they attended a public in-service meeting. [ECF 1,

at ¶ 3.] During the meeting, Dr. Swender advised the attendees that “there would be disturbing news

about the College’s accreditation.” [ECF 1, at ¶ 27.] Plaintiffs further allege that someone (not

them) recorded the meeting and disseminated the recording to a Wichita-based news media station.

[ECF 1, at ¶ 28.] Plaintiffs allege that after Dr. Swender learned of the dissemination, he retaliated

against Plaintiffs by criticizing the faculty, threatening punishment, ordering the faculty and staff

never to speak to the media about College affairs without prior clearance from the College, ordering

all College employees present not to leave, searching the cell phone of Plaintiff Hoke, ordering those

present to rifle through their neighbor’s phone to determine who had disseminated to the media, and

causing them to do unnecessary paperwork with HLC accreditation. [ECF 1, at ¶ 60.]


4838-2666-6388.1                                   6
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 7 of 27




         Plaintiffs disclaim engaging in any protected speech. Plaintiffs neither recorded nor

disseminated Dr. Swender’s remarks at the January 4, 2017, conference. [ECF 1, at ¶ 28.] But it is

the dissemination of Dr. Swender’s remarks that forms the entire (and exclusive) basis for Plaintiffs’

First Amendment claim. See ECF 1, at ¶ 59 (stating the “dissemination of [Dr. Swender’s] remarks

to the media was constitutionally protected activity”).

         B.        Plaintiffs Suffered no Adverse Job Action

         Plaintiffs are employees of Defendant GCCC. Therefore, their claim is resolved under the

Garcetti/Pickering balancing test. See Worrell v. Henry, 219 F.3d 1197, 1205 (10th Cir. 2000)

(applying Pickering to claims asserted by employee against defendant employer but a different test

against a the nonemployer defendants); Spagnuolo v. City of Longmont, No. 05 C 0729, 2006 U.S.

Dist. LEXIS 64757, 2006 WL 2594484, at *5 n.10 (D. Colo. Sept. 11, 2006) (noting that neither the

Tenth Circuit nor the Supreme Court have “law clearly establishing a chilling claim separate and

apart from a public employee retaliation claim”). Under the Garcetti/Pickering framework, this

Court considers:

         (1) whether the speech was made pursuant to an employee’s official duties; (2)
         whether the speech was on a matter of public concern; (3) whether the government’s
         interests, as employer, in promoting the efficiency of the public service are sufficient
         to outweigh the plaintiff’s free speech interests; (4) whether the protected speech was
         a motivating factor in the adverse employment action; and (5) whether the defendant
         would have reached the same employment decision in the absence of the protected
         conduct.

Leverington, 643 F.3d 724 (internal quotation marks omitted). The Pickering test contains a

“requirement that the public employer have taken some adverse employment action against the

employee.” Belcher v. City of McAlester, Okla., 324 F.3d 1203, 1207 n. 4 (10th Cir. 2003).

Historically, the adverse employment action standard in First Amendment retaliation cases was

broader than the Title VII standard. See Baca v. Sklar, 398 F.3d 1210, 1220 (10th Cir. 2005). But

Baca’s holding is tenuous at best. Last year the Tenth Circuit clarified that the Title VII retaliation


4838-2666-6388.1                                    7
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 8 of 27




standard “is analogous to the standard used in First Amendment retaliation cases.” Lincoln, 880

F.3d at 540. Therefore, Plaintiffs must show that Dr. Swender undertook actions that would “deter a

reasonable person from exercising his . . . First Amendment rights.” Couch v. Bd. of Trs. of Mem’l

Hosp. of Carbon Cnty., 587 F.3d 1223, 1238 (10th Cir. 2009) (citations and quotations omitted).

The Tenth Circuit has historically interpreted this standard as requiring a plaintiff to show that he or

she was demoted, terminated, suspended, or suffered a change in job assignments or status. See

Maestas v. Segura, 416 F.3d 1182, 1188 n.5 (10th Cir. 2005) (noting that the Tenth Circuit has only

gone as far as holding that retaliation involving “promotion, transfer, recall after layoff, and hiring

decisions” may be actionable under the First Amendment). Plaintiffs cannot meet this exacting

standard.

         Plaintiffs claim Dr. Swender retaliated against them by (1) criticizing and threatening them,

(2) ordering them not to speak with the media without College permission, (3) conducting an

impromptu cell phone search, and (4) causing them to do unnecessary paperwork. Equally clear from

Plaintiffs’ Petition is what they did not suffer. No Plaintiff was demoted, terminated, reprimanded,

suspended, placed on leave, or suffered any change in job assignments or status. Plaintiffs suffered

no adverse job action. The Tenth Circuit’s recent opinion in Lincoln v. Maketa confirms this point.

880 F.3d 533, 540 (10th Cir. 2018).

         In Lincoln v. Maketa, the plaintiffs alleged that their employer retaliated against them in

violation of their First Amendment rights by placing them on administrative leave, launching a

criminal investigation into their alleged misconduct, and by confiscating their cell phones, iPads,

duty weapons, ID cards, badges, and vehicles. The United States District Court for the District of

Colorado concluded the actions were sufficiently adverse to survive a qualified immunity challenge.

176 F. Supp. 3d 1179, 1194 (D. Colo. 2016). The Tenth Circuit Court of Appeals disagreed. The




4838-2666-6388.1                                   8
         Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 9 of 27




Tenth Circuit held that the individual defendants were entitled to qualified immunity because there

was no clearly established authority that administrative leave, internal criminal investigations, and

alleged acts of “humiliation,” including taking the employees’ equipment and escorting them out of

the building, rose to the level of an adverse job action. Lincoln, 880 F.3d at 540 (10th Cir. 2018).

         Plaintiffs’ alleged adverse actions are similar to the Lincoln plaintiffs. Here, Plaintiffs claim

that Dr. Swender, in January 2017–one year before the Tenth Circuit issued its Lincoln opinion–

launched an investigation into the source of the disclosure by allegedly ordering employees to look

at other employee’s cell phones, directed them to comply with existing media policy, criticized and

“threatened” the employees regarding the dissemination, and asked them to do unnecessary

paperwork. Plaintiffs claim that Dr. Swender’s actions caused them to suffer humiliation. But in

Lincoln, the Tenth Circuit concluded that “an allegation of humiliation alone is not enough to clearly

establish an adverse employment action.” Lincoln, 880 F.3d at 543. In fact, none of the Plaintiffs’

alleged adverse job actions, whether considered collectively or individually, rise to the level of an

adverse job action. See id.; Couch, 587 F.3d at 1243 (“An investigation of potential misconduct . . .

will generally not constitute an adverse employment action.”); Spagnuolo, 2006 U.S. Dist. LEXIS

64757, at *9 (holding that bad faith investigation by a public employer did not violate the First

Amendment) (emphasis added); Coszalter v. City of Salem, 320 F.3d 968, 975 (9th Cir. 2003)

(stating that being “bad-mouthed and verbally threatened” is insufficient adverse action under §

1983).

         Plaintiffs cannot meet their burden to show it was clearly established in January 2017 that Dr.

Swender’s alleged retaliatory actions were sufficient to invoke the protections of the First

Amendment.




4838-2666-6388.1                                    9
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 10 of 27




         C.        Dr. Swender is Entitled to Qualified Immunity Because the Application of the
                   Garcetti Official Duties Test is Unclear in this Case

         The first inquiry under the Garcetti/Pickering analysis “is whether the employee spoke

‘pursuant to [his] official duties.’” See Hesse v. Town of Jackson, 541 F.3d 1240, 1249 (10th Cir.

2008) (quoting Garcetti v. Ceballos, 547 U.S. 410, 413, 126 S. Ct. 1951 (2006)) (other citation

omitted)). “While ‘employees retain the prospect of constitutional protection for their contributions

to the civic discourse,’ they do not have First Amendment protection for statements made ‘pursuant

to employment responsibilities.’“ Id. (citations and quotations omitted).

         The Garcetti test is well recognized. That much is undisputed. But the application of the

Garcetti test to the facts of this case is anything but clearly established. This case is unique. As a

threshold matter, Plaintiffs did not speak at all. Plaintiffs alleged that Dr. Swender retaliated against

them for dissemination of Dr. Swender’s own speech. There is no doubt that the content of the

disseminated speech concerned the official operation of GCCC. Dr. Swender’s alleged speech

concerned the operation and accreditation of GCCC. Kansas statutes expressly authorize GCCC to

associate with accreditation entities. See K.S.A. § 71-210. At the time Dr. Swender gave his

presentation regarding the accreditation of GCCC, his speech concerned his official duties. There is

no credible argument to the contrary.

         While Plaintiffs will no doubt argue that the dissemination of the information was the actual

protected activity, i.e., the protected speech, Plaintiffs’ argument ignores the fact that Garcetti

requires this Court to consider the content of the disseminated recording. See Rohrbough v. Univ. of

Colo. Hosp. Auth., 596 F.3d 741, 746 (10th Cir. 2010); Klaassen v. Atkinson, 348 F. Supp. 3d 1106,

1167 (D. Kan. 2018) (court considers content and the intended audience of the speech). And case

law is clear that dissemination to the media of “official duties” communications is insufficient to

clear Garcetti’s hurdle. See Klaassen, 348 F. Supp. 3d at 1170 (holding that Plaintiff’s speech about



4838-2666-6388.1                                   10
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 11 of 27




public university’s use of funds to media was speech made pursuant to professor’s “official duties”);

Omokehinde v. Detroit Bd. of Educ., 563 F. Supp. 2d 717, 726 (E.D. Mich. 2008) (letter to the media

raising the same issues of internal complaints failed the official duties test of Garcetti); see also

Pierce v. Heuckendorf, No. 93-6248, 1994 U.S. App. LEXIS 10087, at *5-7 (10th Cir. May 5, 1994)

(questioning whether “‘speech’ is at issue in this case” where plaintiff disseminated but did not

prepare documents). There is no case law in this Court or the Tenth Circuit that clearly establishes

the First Amendment right to disseminate a recording of a speech given by a state employee in which

the employee is speaking pursuant to his or her official duties.

         Also, to disseminate a recording, one must first make the recording. And if there is a

constitutional right to record a state employee performing official state duties, it has not been

officially recognized by this Court or this Circuit. See Mocek v. City of Albuquerque, No. CIV 11-

1009 JB/KBM, 2013 U.S. Dist. LEXIS 10676, at *113-18 (D.N.M. Jan. 14, 2013) (“Neither the

Tenth Circuit nor the Supreme Court has directly addressed a right – constitutional or otherwise – to

record police or law enforcement activity in public.”); Fields v. City of Philadelphia, 862 F.3d 353,

361-62 (3d Cir. 2017) (finding state officials entitled to qualified immunity because there was no

“fair warning” that “recording public police activity was constitutionally protected”); Turner v.

Driver, 848 F.3d 678, 687 (5th Cir. 2017) (same); see also McCormick v. City of Lawrence, 130 F.

App’x 987, 988-989 (10th Cir. 2005) (affirming summary judgment in favor of the City of Lawrence

because plaintiff’s recording of police officers was “fighting words”).

         Finally, one federal court, when asked to address a similar situation, avoided Garcetti all

together. In Hellman v. Weisberg, No. CV-06-1465-PHX-FJM, 2007 U.S. Dist. LEXIS 87968, at

*19-27 (D. Ariz. Nov. 29, 2007), the employee plaintiff, a judicial assistant, publically disseminated

a memorandum prepared by a judge for the Arizona Court of Appeals pursuant to the judge’s official




4838-2666-6388.1                                 11
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 12 of 27




duties to oversee internal investigations. The Arizona District Court, in addressing whether the

plaintiff engaged in protected conduct under the First Amendment, cited Garcetti but never

considered whether plaintiff acted pursuant to her official duties in disclosing a memorandum

prepared in the course of employment by another employee. Id. at *19-20. The Court likely avoided

the issue because Garcetti (and its progeny) are not squarely on point. And that is precisely the

point. If federal courts will not squarely tackle the issue, Dr. Swender cannot be expected to make a

snap judgment regarding how to address the unauthorized public dissemination of his own speech

given pursuant to his official duties as President of GCCC. There is simply no binding law on point

that would advise Dr. Swender, a lay individual, that unauthorized dissemination of his own speech

given pursuant to his own official responsibilities as President of GCCC implicated the First

Amendment. Dr. Swender is entitled to qualified immunity on Plaintiffs’ First Amendment claims.

III.     Dr. Swender is Entitled to Qualified Immunity on Plaintiffs’ Fourth Amendment Claims

         Plaintiffs alleged that Dr. Swender oversaw or directed an improper search of Plaintiffs’

cellular phones. But federal courts have not clearly established the parameters of reasonable

searches of electronic communications or searches in the workplace.

         The Fourth Amendment states: “The right of the people to be secure in their persons, houses,

papers, and effects, against unreasonable searches and seizures, shall not be violated . . . .” No doubt

the Fourth Amendment’s protection extends beyond the sphere of criminal investigations. Camara v.

Municipal Court of City and County of San Francisco, 387 U.S. 523, 530, 87 S. Ct. 1727, 18 L. Ed.

2d 930 (1967). “The Amendment guarantees the privacy, dignity, and security of persons against

certain arbitrary and invasive acts by officers of the Government,” without regard to whether the

government actor is investigating crime or performing another function. Skinner v. Railway Labor

Executives’ Ass’n, 489 U.S. 602, 613-614, 109 S. Ct. 1402, 103 L. Ed. 2d 639 (1989). The Fourth




4838-2666-6388.1                                  12
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 13 of 27




Amendment applies as well when the Government acts in its capacity as an employer. Treasury

Employees v. Von Raab, 489 U.S. 656, 665, 109 S. Ct. 1384, 103 L. Ed. 2d 685 (1989).

         It is clear that the Fourth Amendment applies to GCCC as a governmental employer. What is

not clear, is how. The lack of clarity begins with the Supreme Court’s plurality opinion in O’Connor

v. Ortega, 480 U.S. 709, 711, 107 S. Ct. 1492 (1987). In O’Connor, a physician employed by a state

hospital alleged that hospital officials investigating workplace misconduct had violated his Fourth

Amendment rights by searching his office and seizing personal items from his desk and filing

cabinet. All Members of the Court agreed with the general principle that “[i]ndividuals do not lose

Fourth Amendment rights merely because they work for the government instead of a private

employer.” 480 U.S. at 717 (plurality opinion); see also id. at 731 (Scalia, J., concurring in

judgment); id. at 737 (Blackmun, J., dissenting). A majority of the Court further agreed that

“‘special needs, beyond the normal need for law enforcement,’” make the warrant and probable-

cause requirement impracticable for government employers. Id. at 725 (plurality opinion) (quoting

New Jersey v. T. L. O., 469 U.S. 325, 351, 105 S. Ct. 733, 83 L. Ed. 2d 720 (1985) (Blackmun, J.,

concurring in judgment)); O’Conner, 480 U.S. at 732 (opinion of Scalia, J.). But the O’Connor

Court did not agree on the proper analytical framework for Fourth Amendment claims against

government employers.

         A plurality of the O’Connor Court stated that the analysis has two steps: (1) the court should

consider the operational realities of the workplace to determine whether an employee’s Fourth

Amendment rights are implicated; and (2) if the employee has a reasonable expectation of privacy,

an intrusion on that expectation for non-investigatory, work-related purposes, as well as for

investigations of work-related misconduct, should be judged by the standard of reasonableness under

all the circumstances. The concurring opinion stated that the analysis for investigating violations of




4838-2666-6388.1                                  13
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 14 of 27




workplace rules should declare that investigations do not violate the Fourth Amendment. O’Conner,

480 U.S. at 732 (Scalia, J. concurring). Many courts have recognized that the result in the plurality

opinion is all that is binding; the reason or method for getting to the result is not. See, e.g., Entrekin

v. Internal Med. Assocs. of Dothan, 698 F.3d 1248, 1258 (11th Cir. 2012). And in 2010, the Supreme

Court itself recognized the unsettled state of the law noting that “the threshold test for determining

the scope of an employee’s Fourth Amendment rights has not been clarified further.” City of

Ontario v. Quon, 560 U.S. 746, 757, 130 S. Ct. 2619 (2010).

         In Quon, the Supreme Court reversed the Ninth Circuit’s decision that held a government

employee had a reasonable expectation of privacy in text messages sent and received by a third

party. The plaintiff police sergeant sued the City of Ontario for violating his Fourth Amendment

rights by obtaining and reviewing transcripts of personal text messages he sent and received from a

pager that was owned by the City and issued to him for work use. 177 L. Ed. 2d at 221. The parties

disputed whether the plaintiff, as a public employee, had an objectively reasonable expectation of

privacy in those text messages. 177 L. Ed. 2d at 221.

         Even after the briefs of 2 parties and 10 amici curiae, the Supreme Court declined to decide

whether the plaintiff’s asserted privacy expectations were reasonable. 177 L. Ed. 2d at 221. The

Supreme Court acknowledged that the case “touches issues of far-reaching significance.” 177 L. Ed.

2d at 221. After remarking that it “must proceed with care when considering the whole concept of

privacy expectations in communications made on electronic equipment owned by a government

employer,” the Supreme Court cautioned that “[t]he judiciary risks error by elaborating too fully on

the Fourth Amendment implications of emerging technology before its role in society has become

clear.” 177 L. Ed. 2d at 227. The Supreme Court explained: “In Katz, the Court relied on its own

knowledge and experience to conclude that there is a reasonable expectation of privacy in a




4838-2666-6388.1                                   14
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 15 of 27




telephone booth.” Id. In contrast, the Supreme Court found “[i]t is not so clear that courts at present

are on so sure a ground” as to electronic devices. Id. Therefore, the Supreme Court admonished that

“[p]rudence counsels caution before the facts in the instant case are used to establish far-reaching

premises that define the existence, and extent, of privacy expectations” in communications on

electronic devices. Id. The Supreme Court specifically noted that ongoing “[r]apid changes in the

dynamics of communication and information transmission” caused similar rapid change “in what

society accepts as proper behavior.” 177 L. Ed. 2d at 227.1

         The Quon case has caused the Eleventh Circuit to note that the “Supreme Court’s more-

recent precedent shows a marked lack of clarity in what privacy expectations as to content of

electronic communications are reasonable.” Rehberg v. Paulk, 611 F.3d 828, 844 (11th Cir. 2010).

And it is this precise lack of clarity that will guide this Court’s analysis here. While Plaintiffs allege

the search carried out by Dr. Swender involved a search of personal cellular phones (ECF No. 1, ¶

43), that distinction only supports Dr. Swender entitlement to qualified immunity for several reasons.

         First, after conducting a reasonable good-faith search, defense counsel could find no Tenth

Circuit or District of Kansas case law applying either O’Conner or Quan to any case involving a

governmental employer’s search of a personal cellular phone. Second, the out-of-circuit courts to

consider the issue are split. See Sollenberger v. Sollenberger, 173 F. Supp. 3d 608, 625 (S.D. Ohio

2016) (holding defendants who searched personal cellular phones were entitled to qualified

immunity because the law was not clearly established in light of the Quan court’s disclaimers); Huff

v. Harness, No. 3:16-cv-164-DPM, 2018 U.S. Dist. LEXIS 89795, at *7 (E.D. Ark. May 30, 2018)

(granting defendant’s summary judgment regarding a governmental search of a personal cellular

1
 In Riley v. California, 573 U.S. 373, (2014), the Supreme Court held that a search incident to arrest
exception does not apply to all cell phones in the criminal law context. But Riley was clear, case-
specific exceptions to the warrant requirement remain intact. Riley does not guide the analysis here.



4838-2666-6388.1                                   15
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 16 of 27




phone noting that “qualified immunity issues” intertwined with the merits); see also Cunningham v.

Terrebonne Parish Consol. Gov’t, No. 09-8046, 2011 U.S. Dist. LEXIS 13963, at *16 (E.D. La. Feb.

11, 2011) (citing Quon’s counsel regarding unknown privacy expectations and denying plaintiff’s

motion for summary judgment); Garcia v. City of Laredo, No. 5:10-cv-30, 2011 U.S. Dist. LEXIS

158884, at *14 (S.D. Tex. Sep. 1, 2011) (granting defendants summary judgment on a Fourth

Amendment search of a personal cell claim but neither discussing qualified immunity or elaborating

on Quon); but see Larios v. Lunardi, No. 2:15-cv-02451-MCE-CMK, 2016 U.S. Dist. LEXIS

157385, at *15 (E.D. Cal. Nov. 10, 2016); Hibbert v. Schmitz, No. 3:16-cv-3028, 2017 U.S. Dist.

LEXIS 1152, at *24 (C.D. Ill. Jan. 5, 2017).

         What privacy expectations an employee possesses in a personal cellular phone used during

working hours while at work and what rights the employer possessed to search an employee’s

cellular phone are unanswered questions in this Circuit and this District. The courts that have

addressed the issue disagree on the result. Courts are split on whether a government employee may

conduct a warrantless search of an employee’s cell phone. “A circuit split will not satisfy the clearly

established prong of qualified immunity.” Mocek v. Albuquerque, 813 F.3d 912, 929 n.9 (10th Cir.

2015). Dr. Swender is entitled to qualified immunity on Plaintiff’s Fourth Amendment search and

seizure claim.

IV.      Dr. Swender is Entitled to Qualified Immunity on Plaintiffs’ Claim for Relief under the
         Establishment Clause

         Plaintiffs claim that Dr. Swender violated the Establishment Clause by welcoming an

invocation from a pastor at faculty and staff meetings and by declaring the pastor be the “College’s

Pastor.” Plaintiffs further claim that Dr. Swender violated the Establishment Clause by welcoming a

pastor to come and give a speech about his life. Dr. Swender is entitled to qualified immunity on

two independent grounds. First, the issue of prayer at a collegiate faculty meeting is an issue of first



4838-2666-6388.1                                  16
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 17 of 27




impression in the Tenth Circuit. This point alone is sufficient to convey Dr. Swender qualified

immunity because the law is not clearly established. See infra § IV.B. Second, plaintiffs allege no

constitutional violation. As explained by the Fifth Circuit, public prayers before decision-making

bodies are permissible under the Supreme Court’s Marsh decision and its resulting lineage.

          A.       Plaintiffs Factual Allegations Regarding Their Establishment Clause Claim

          Plaintiffs allege Dr. Swender violated the Establishment Clause because Pastor Nathan

Sheridan was listed on agendas to give a prayer to begin the January 2017, August 2017, and January

2018 meetings. [ECF 1, ¶¶ 22, 50, 51.] Plaintiffs allege that Pastor Sheridan gave a prayer that was

Protestant in nature on each occasion. [ECF 1, ¶¶ 22, 50, 51.] Plaintiffs also allege that Dr. Swender

declared Pastor Sheridan to be the “College’s Pastor” during the January 2018 meeting. [ECF 1, ¶

52.] Finally, Plaintiffs claim that Pastor Ricky Griffin gave a speech during the January 2018

meeting about his life and ended the speech by asking all present to “bow your heads in prayer”.

[ECF 1, ¶ 52.] Plaintiffs claim these actions collectively or individually violated the Establishment

Clause.

          B.       Dr. Swender is Entitled to Qualified Immunity Because Plaintiffs’ Lawsuit Raises
                   an Issue of First Impression in this Circuit

          In the Tenth Circuit, the method for determining whether an act violates the First

Amendment Establishment Clause is far from a beacon of clarity. Justice Thomas noted that the

United States Supreme Court’s Establishment Clause “jurisprudence has confounded the lower

courts” and the “Tenth Circuit’s decision[s]” on the Establishment Claims “remain incapable of

coherent explanation.” Utah Highway Patrol Ass’n v. Am. Atheists, Inc., 565 U.S. 994, 995, 1007

(2011) (Thomas, J. dissenting). Last year, Tenth Circuit Judge Kelly confirmed the confusion noting

that the Tenth Circuit’s recent “decision continues the error of our Establishment Clause cases.”




4838-2666-6388.1                                  17
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 18 of 27




Felix v. City of Bloomfield, 847 F.3d 1214, 1215 (10th Cir. 2017) (Kelly, Circuit Judge, dissenting

from the denial of rehearing en banc, joined by Tymkovich, Chief Circuit Judge).

         Plaintiffs’ Complaint brings an issue of first impression before this Court. Plaintiffs claim

that Dr. Swender violated the Establishment Clause by having pastors pray at faculty and staff in-

service meetings. [ECF 1, ¶ 7.] There is no Tenth Circuit decision on point. The closest cases on

point involve situations in which public prayer is conducted before either a legislative body or in

public primary or secondary school. See infra § IV.C But this case falls somewhere in the middle

between these two divergent lines of cases.

         As explained below, the United States Supreme Court has generally found public prayer

acceptable when conducted before legislative bodies. See infra § IV.C. However, when the prayer

occurs in a public primary or secondary school, the United States Supreme Court has been less

inclined to find public prayer acceptable. See infra § IV.C. This case falls somewhere in between.

As alleged, this lawsuit involves allegations of public prayer before an audience of adults at a public

collegiate faculty meeting. The Tenth Circuit has not determined whether this type of prayer

violates the Establishment Clause. And the circuit courts that have addressed the issue are split on

whether the prayer runs afoul of the Establishment Clause. Compare Doe v. Indian River Sch. Dist.,

653 F.3d 256, 275 (3d Cir. 2011), cert. denied, 565 U.S. 1157 (2012); and Coles ex rel. Coles v.

Clevland Bd. of Educ., 171 F.3d 369, 371 (6th Cir. 1999); with Am Humanist Ass’n v. McCarty, 851

F.3d 521, 528 (5th Cir. 2017).

         Plaintiffs’ claims involve an issue of first impression that has split other circuit courts. The

law is anything but clearly established. Dr. Swender is entitled to qualified immunity on this point

alone. See Vogt v. City of Hays, 844 F.3d 1235, 1247 (10th Cir. 2017) (granting police officers

qualified immunity on case involving issue of first impression and a circuit split); Mocek v.




4838-2666-6388.1                                   18
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 19 of 27




Albuquerque, 813 F.3d 912, 929 n.9 (10th Cir. 2015) (“A circuit split will not satisfy the clearly

established prong of qualified immunity.”).

         C.        Supreme Court Case Law Regarding Establishment Clause Prayer Cases

         Broadly speaking, the Supreme Court generally applies at least one of three tests under the

Establishment Clause: the Lemon test,2 the endorsement test,3 and the coercion test.4 See Am.

Humanist Ass’n v. McCarty, 851 F.3d 521, 525 (5th Cir. 2017). But occasionally, to further

confound matters, in legislative prayer cases, the United States Supreme Court applies no test.

         In Marsh v. Chambers, 463 U.S. 783, 784-85, 103 S. Ct. 3330, 77 L. Ed. 2d 1019 (1983), a

member of the Nebraska Legislature sued state officials, claiming that the practice of opening each

session with a chaplain’s prayer violated the Establishment Clause. The Court upheld the practice

without applying any of the above mentioned tests, observing that “[t]he opening of sessions of

legislative and other deliberative public bodies with prayer is deeply embedded in the history and

tradition of this country.” 463 U.S. at 786.

         Twenty year later, the Supreme Court revisited the issue in Town of Greece v. Galloway, 134

S. Ct. 1811, 1827-28, 188 L. Ed. 2d 835 (2014), and stated unequivocally that the legislative-prayer

exception in Marsh extends to prayers delivered at town-board meetings. The Court cautioned

2
 Under the Lemon test, for a government practice to be constitutional, it must (1) have a secular
purpose, (2) have a primary effect that neither advances nor inhibits religion, and (3) not foster
excessive government entanglement with religion. Lemon v. Kurtzman, 403 U.S. 602, 612-13, 91 S.
Ct. 2105, 29 L. Ed. 2d 745 (1971).
3
  Under the endorsement test, a “[g]overnment unconstitutionally endorses religion whenever it
appears to take a position on questions of religious belief, or makes adherence to a religion relevant
in any way to a person’s standing in the political community.” Felix v. City of Bloomfield, 841 F.3d
848, 856 (10th Cir. 2016) (citations and quotations omitted).
4
 The coercion test provides that, “at a minimum, . . . government may not coerce anyone to support
or participate in religion or its exercise, or otherwise act in a way which ‘establishes a [state] religion
or religious faith, or tends to do so.’“ Elk Grove Unified Sch. Dist. v. Newdow, 542 U.S. 1, 44, 124 S.
Ct. 2301 (2004) (Rehnquist, J. concurring).



4838-2666-6388.1                                    19
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 20 of 27




however, that the prayers must not “denigrate nonbelievers or religious minorities, threaten

damnation, or preach conversion.” Id. at 1823. Moreover, the Court concluded that the “[t]he

principal audience for these invocations is not . . . the public but lawmakers themselves, who may

find that a moment of prayer or quiet reflection sets the mind to a higher purpose and thereby eases

the task of governing.” Id. at 1825.

         However, the Supreme Court has distinguished legislative-prayer cases from school-prayer

cases including Santa Fe Independent School District v. Doe, 530 U.S. 290, 120 S. Ct. 2266, 147 L.

Ed. 2d 295 (2000), Lee v. Weisman, 505 U.S. 577, 112 S. Ct. 2649, 120 L. Ed. 2d 467 (1992), and

County of Allegheny v. ACLU, 492 U.S. 573, 109 S. Ct. 3086, 106 L. Ed. 2d 472 (1989). In

particular, in Lee, a graduation student-prayer case, the Court, explained that “there are heightened

concerns with protecting freedom of conscience from subtle coercive pressure in the elementary and

secondary public schools” and that “prayer exercises in public schools carry a particular risk” of

unconstitutional coercion. The Court distinguished Lee from Marsh, noting that the legislative-

prayer exception does not apply in “the public school context.” Id. at 597.

         D.        Dr. Swender is Entitled to Qualified Immunity Because Plaintiffs Fail to Allege a
                   Violation of their Constitutional Rights under the Establishment Clause

         Plaintiffs allege that at multiple faculty in-service meetings Dr. Swender encouraged the

establishment of a Protestant religion by having a pastor pray before each in-service. [ECF No. 1, ¶¶

77-82.] Plaintiffs claim that at these in-service meetings, Dr. Swender conduced official GCCC

business and provided updates on the status of the College including the College’s accreditation

status with the HLC. [ECF No. 1, ¶¶ 23-25.] Members of the public occasionally attended the in-

service meetings. [ECF No. 1, ¶ 20.] Plaintiffs do not allege that any children were present at the

meetings.




4838-2666-6388.1                                   20
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 21 of 27




         Plaintiffs’ allegations are similar to cases in which a public school board– tasked with the

direction, operation, and oversight of a public educational entity–initiates its public meeting with a

public prayer. Similar to the “school-board prayer” cases, Plaintiffs allege that Dr. Swender, like a

school board, was responsible for the direction and oversight of GCCC. [ECF No. 1, ¶ 15.] The

commonalities stop there. Unlike the school-board prayer cases, there are no allegations that

children were present at any meetings and unlike a primary or secondary school board, GCCC is an

institution of higher education.

         The Sixth Circuit was the first circuit court to address whether public school-board prayer ran

afoul of the Establishment Clause. In Coles ex rel. Coles v. Cleveland Board of Education, 171 F.3d

369, 383 (6th Cir. 1999), the Sixth Circuit held that the legislative-prayer exception did not extend to

invocations at school-board meetings. In reaching its conclusion, the court acknowledged that it was

a tough question: “This case puts the court squarely between the proverbial rock and a hard place.”

Id. at 371. Over a decade later, the Third Circuit reached the same conclusion in Doe v. Indian River

Sch. Dist., 653 F.3d 256, 275 (3d Cir. 2011). However, instrumental to both the Doe Court and the

Coles ex. rel. Coles Court’s decision was the compelled presence of children at the board meetings.

Doe, 653 F.3d at 275-76 (noting the children’s attendance was “‘involuntary’”); Coles by Coles, 171

F.3d at 372 (noting, among other things, “student representative regularly sits on the school board

itself”).

         In 2017, the Fifth Circuit addressed the same topic and disagreed with the Third and Sixth’s

Circuits’ conclusions. In Am. Humanist Ass'n v. McCarty, 851 F.3d 521, 526 (5th Cir. 2017), the

Fifth Circuit was asked to address a similar issues involving invocations before a public school-

board meeting. The Fifth Circuit phrased the issue as a follows:

         The key question, then, is whether this case is essentially more a legislative-prayer
         case or a school-prayer matter. Like Galloway, this dispute is about the



4838-2666-6388.1                                   21
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 22 of 27




         constitutionality of permitting religious invocations at the opening, ceremonial phase
         of a local deliberative body's public meetings. But like Santa Fe, this case is about
         school-district-sanctioned invocations delivered by students on district property.

McCarty, 851 F.3d at 526. The Fifth Circuit concluded that the school-board was more like a

“legislature than a school classroom” and held that invocations did not violate the Establishment

Clause. The Fifth Circuit distinguished the Doe and Coles by Coles opinions on the basis that the

school-board meetings at issue in McCarty were attended by “mature adults” and not impressionable

children. Id. at 526. The same is true here. Plaintiffs are adults. Most of them are tenured highly

educated faculty members at an institution of higher education. Because tenured faculty members

are not impressionable second graders, Plaintiffs can state no claim that Dr. Swender violated the

constitution by welcoming an invocation during a faculty and staff meeting or by welcoming a pastor

to give a speech about his life. And because of the murky unclarity of the law regarding the

Establishment Clause and because this case does not involve the establishment of religion, Dr.

Swender is entitled to qualified immunity.

         E.        Identifying Pastor Sheridan as GCCC’s Pastor did not Violate the Establishment
                   Clause

         Plaintiffs allege that Dr. Swender violated their rights and established a religion by declaring

that Pastor Sheridan is the “College’s Pastor.” [ECF No. 1, ¶¶ 77-82.] There is no law clearly

establishing that such a designation violated Plaintiffs’ rights. Notably, Marsh, the Supreme Court

recognized that the United States Congress had a long tradition dating back to the Eighteen Century

of electing chaplains to serve in a state sponsored position. 463 U.S. at 787-88. In Town of Greece,

the Supreme Court held that the town board did not violate the establishment clause when it

designated a pastor as the town’s chaplain of the month. 572 U.S. at 584-85. There is no Tenth

Circuit precedent that runs contrary to Marsh or Town of Greece. There is no law clearly stating that

Dr. Swender’s declaration violated Plaintiffs’ rights. Because Plaintiffs cannot prove that they have



4838-2666-6388.1                                   22
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 23 of 27




a clearly established right that was violated, Dr. Swender is entitled to qualified immunity on this

final point.

V.       Claim against GCCC must be Dismissed under the Monell Doctrine

         Plaintiffs allege that GCCC should be liable for Dr. Swender’s attempt to enforce GCCC’s

news/ media policy. [ECF No. 1, ¶¶ 62-64.]

         Defendant GCCC cannot be held liable because the news/media policy does not violate the

First Amendment. The news/media policy is reasonable in the time, place, and manner. The

news/media policy does not completely prevent speech and only places limits on speeches that are

necessary for the proper functioning and management of the college.

         “A municipality may not be liable solely because it employs a tortfeasor–or, in other words, a

municipality cannot be liable under §1983 on a respondeat superior theory.” See Monell, 436 U.S. at

690. That is to say Defendant GCCC cannot be held liable solely because it employed Dr. Swender.

Defendant GCCC can only be liable it its policy caused a violation of Plaintiffs rights. To succeed

on their claim against GCCC, Plaintiffs must prove that GCCC’s policy directly caused a violation

of their rights. To prove that GCCC’s policy violated their rights, Plaintiffs must show that the

policy itself is unconstitutional. See Koppenhaver v. Unified Sch. Dist. No. 500, No. 12-2286-JAR-

KGG, 2013 U.S. Dist. LEXIS 56125, at *18-19 (D. Kan. April 18, 2013).

         A.        GCCC’s News/Media Policy does not Violate the Constitution

         GCCC’s news/media policy is not the direct cause of any violation of Plaintiffs’ rights

because it does not violate the First Amendment. GCCC’s news policy only regulates the reasonable

time, place, and manner of speech.

         When analyzing whether the policy of a public entity is a violation of an employee’s right to

free speech, courts use the same Garcetti/Pickering framework. See Brammer-Hoelter v. Twin Peaks

Charter Academy, 602 F.3d 1175, 1185 (2010)


4838-2666-6388.1                                  23
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 24 of 27




         While applying the Garcetti/Pickering analysis, the Tenth Circuit has held that a complete

ban on a public employee’s right to discuss anything with the press is a violation of the First

Amendment. Id.; Luethje v. Peavine School Dist., 872 F.2d 352, (10th Cir. 1989). An agreement by

a public employee not to publish information about the public entity without prior clearance,

however, is enforceable and not a violation of the First Amendment. Snepp v. United States, 444

U.S. 507, 510 (1980).

         In Brammer-Hoelter, the Court placed a heavy emphasis on the amount of speech that was

banned and the employer’s stated reason for the ban on the speech. 602 F.3d at 1185-86. There, the

policy was that the teachers were not to discuss school matters with anyone and that the teachers

were not to meet together socially at all. Id. at 1180. The policy in Brammer-Hoelter left open no

opportunities for the teachers to speak about matters related to the school.

         In Snepp, the Central Intelligence Agency required their employees to execute and agreement

stating that the employee would not publish any information or material relating to the Agency, its

activities or intelligence activities generally, either during or after the term of employment without

specific prior approval of the Agency. 444 U.S. at 508. Of note, the ban in Snepp included “any

information and material.” Id.

         The restriction imposed here is not a complete ban on speech. The news/media policy here

provides, “All news releases, photographs or public service announcements, and news media

contacts, concerning GCCC events, students or programs should be issued or cleared by the Director

of Marketing Public Relations; or in the case of athletic programs, by the Director of Athletics . . . .”

This is not a complete ban on speech. This policy is a narrowly tailored restriction that leaves open

ample opportunity for speech. The policy only limits employee speech as it relates to the limited but

official operation of GCCC concering topics of “GCCC events, students or programs….” Further,




4838-2666-6388.1                                   24
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 25 of 27




the limit to the specific topics does not ban the employee from discussing the topics completely. The

policy allows the employee to freely discuss the topics after the public entity has been notified that

the speech will occur. This is a reasonable limitation on speech. See Snepp, 444 U.S. at 510.

         Plaintiffs do not allege that any request to make a comment to the press was ever denied or

that they would not have been able to engage in speech if they had requested made a request.

Without such evidence, it cannot be said that the policy is unconstitutional.

         Because Plaintiffs cannot show that GCCC’s policy is itself unconstitutional, they fail to

assert individual liability against GCCC. Therefore, GCCC should be dismissed as a party to this

lawsuit.

VI.      Claims against Dr. Swender in his Official Capacity are Redundant and should be
         Dismissed

         Plaintiffs assert claims against GCCC and Mr. Dr. Swender in his Official Capacity under 42

U.S.C. § 1983 for infringement of their constitutional right to free speech and expression. Plaintiffs

seek compensatory and punitive damages, costs, attorneys’ fees, interest, a declaration that the

College policy against an employee speaking to the press is overbroad and violates the First

Amendment as applied, and an injunction against further unconstitutional enforcement of this policy.

         When a municipality is sued, there is no need to assert an additional claim against a

municipal officer in his official capacity. See Ky. v. Graham, 473 U.S. 159, 167 n.14 (1985). “‘[A]

§ 1983 claim is properly plead against a municipality either by naming the municipality itself or by

naming a municipal official in his or her official capacity . . . . Naming either is sufficient. Naming

both is redundant.’” Cleland v. City of Caney, 1997 U.S. Dist. LEXIS 1340, at *12 (D. Kan. Jan. 24,

1997).




4838-2666-6388.1                                  25
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 26 of 27




         Garden City Community College, which is designated as a municipality, has already been

named as a party. Therefore, naming an official from the municipality in his official capacity is

redundant and the claims against Mr. Dr. Swender in his official capacity should be dismissed.

         Additionally, the injunctive relief sought by Plaintiffs is a policy change at the college. Mr.

Dr. Swender is no longer associated with the College and does not control this policy. Therefore,

any claims against him for injunctive relief must be dismissed as moot. See Phelps v. Hamilton, 122

F.3d 885, 891 (“This inability to grant effective relief renders this issue moot.”)

                                           CONCLUSION

         Plaintiffs do not allege that they engaged in protected speech, so they can not sustain an

action for a violation of their rights to free speech. There is no clearly established law stating that

any action taken by Dr. Swender violated Plaintiffs’ constitutional rights. To the extent that there is

any law on the matter, a person in Dr. Swender’s position would have reasonably believed that they

were complying with the law. Therefore, Dr. Swender respectfully requests that this court dismiss

all charges against him in his individual capacity. GCCC has a narrowly tailored policy that ensures

the safety of students. Therefore, Defendants respectfully request that this Court dismiss any claims

brought against them in this lawsuit.

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4838-2666-6388.1                                   26
        Case 5:19-cv-04001-HLT-TJJ Document 20 Filed 04/19/19 Page 27 of 27




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on April 19, 2019, I filed the above Memorandum in Support of Motion

for Judgment on the Pleadings using the Court’s CM/ECF system which sent notice to all counsel of

record.

                                               /s/ Alan L. Rupe
                                               Alan L Rupe




4838-2666-6388.1                                 27
